     Case 4:05-cr-00305-SWW Document 1226 Filed 03/30/12 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

UNITED STATES OF AMERICA

V.                               NO. 4:05CR00305-013 SWW

PATRICK R. GENTRY

                                 ORDER

     Before the Court is the government’s petition [doc #1217] that

summons be issued and a revocation hearing be held as to the above-named

defendant.

     A hearing is scheduled on WEDNESDAY, JUNE 20, 2012 AT 1:00 P.M.,

Courtroom #389, Richard Sheppard Arnold United States Courthouse, 600

West Capitol Avenue, Little Rock, Arkansas, to show cause why the

supervised release previously granted this defendant should not be

revoked.

     IT IS SO ORDERED that the Clerk of Court is directed to issue a
summons for Patrick R. Gentry, and the United States Marshal is directed
to serve the summons in this matter upon defendant.

     The Court appoints Chris Tarver as counsel for this defendant,

replacing Richard Holiman.

     DATED this 30th day of March 2012.



                                         /s/Susan Webber Wright
                                         UNITED STATES DISTRICT JUDGE
